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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,


v.                                                Case No. 8:03-CR-54-T-17TBM

LESLIE BARNES,

       Defendant,

       and


VOICEPOWERED SOLUTIONS, LLC,

       Garnishee.


                            FINAL ORDER IN GARNISHMENT

       THIS CAUSE came on for consideration upon the United States of America's

Motion for Entry of Final Order in Garnishment pursuant to 28 U.S.C. § 3205(c)(7)

against the nonexempt disposable earnings of Defendant Leslie Barnes. The Court,

having considered the Application for Writ of Continuing Garnishment, Garnishee

VoicePowered Solutions, LLC's, Answer, and the instant Motion for Entry of Final Order

in Garnishment, and noting that Defendant has not claimed any exemptions with

respect to this garnishment and has not requested a hearing with respect to this

garnishment, finds that the entry of a final order in garnishment is in all respects proper.

       Accordingly, it is


       ORDERED, ADJUDGED, AND DECREED that the United States of America's

Motion for Entry of Final Order in Garnishment is granted. It is further
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       ORDERED, ADJUDGED, AND DECREED that Garnishee VoicePowered

Solutions, LLC, shall pay to the United States, weekly, the appropriate statutory amount

of Defendant's nonexempt disposable earnings. It is further

       ORDERED, ADJUDGED, AND DECREED that Garnishee shall continue to

make weekly payments to the United States pursuant to this Order until such time as

the instant garnishment is terminated by court order, by exhaustion of the Defendant's

nonexempt disposable earnings in Garnishee's custody, control, or possession, or by


satisfaction of the judgment debt. It is further

       ORDERED, ADJUDGED, AND DECREED that all monies previously withheld by

Garnishee from Defendant's nonexempt disposable earnings in accordance with the

Writ of Continuing Garnishment shall be paid forthwith to the United States. It is further

       ORDERED, ADJUDGED, AND DECREED that all payments made to the United

States pursuant to this Order shall bear the notation "Leslie Barnes, Case No. 8:03-cr-

54.T-17TBM," be made payable to "Clerk, United States District Court," and be sent to:

              Clerk, United States District Court
              ATTN: DCU
              300 North Hogan Street, Suite 9-400
              Jacksonville, Florida 32202.

       DONE and ORDERED at Tampa, Florida, o
